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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA, 1:22-CR-2041-SAB
Plaintiff, SUPERSEDING INDICTMENT
v. Vio: 18U.S.C. §§ 2119, 2
Carjacking
SUNDRON LARSELL MILLER and (Count 1)

PAULA EULOJIA CANTU-LOPEZ,
18 U.S.C. § 924(c)(1)(A)Q), Git)
Defendants. Brandishing a Firearm During
and in Relation to a Crime of
Violence

(Counts 2, 3)

18 U.S.C. §§ 922(g)(1),
924(a)(2)

Felon in Possession of a
Firearm and Ammunition

(Count 4)

18 U.S.C. §§ 1153, 113(a)(1),
Assault with Intent to Commit
Murder

(Count 5)

SUPERSEDING INDICTMENT - 1

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18 U.S.C. §§ 1153, 113(a)(6),
2

Assault Resulting in Serious
Bodily Injury

(Count 6)

18 U.S.C. § 924, 28 U.S.C.
§ 2461(c)
Forfeiture Allegations

The Grand Jury charges:
COUNT 1

On or about December 28, 2021, in the Eastern District of Washington, the
Defendants, SUNDRON LARSELL MILLER and PAULA EULOJIA CANTU-
LOPEZ, took a motor vehicle, to wit: a 1997 GMC Sierra, that had been
transported, shipped, and received in interstate and foreign commerce from A.S. by
force, violence, and intimidation, resulting in serious bodily injury that caused
extreme physical pain and protracted and obvious disfigurement and protracted
loss and impairment of the function of a bodily member, organ, or mental faculty
to A.S., with the intent to cause death and serious bodily harm, all in violation of
18 U.S.C. §§ 2119, 2.

COUNT 2
On or about December 28, 2021, in the Eastern District of Washington, the

Defendant, SUNDRON LARSELL MILLER, during and in relation to a crime of

SUPERSEDING INDICTMENT -— 2
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violence, for which he may be prosecuted in a court of the United States, to wit:
Carjacking, in violation of 18 U.S.C. § 2119, as alleged in Count 1 of this
Indictment, did knowingly use, carry, brandish, and possess in furtherance of the
Carjacking, a firearm, all in violation of 18 U.S.C. § 924(c)(1)(A)G), (ai).
COUNT 3
On or about December 28, 2021, in the Eastern District of Washington, the
Defendant, PAULA EULOJIA CANTU-LOPEZ, during and in relation to a crime
of violence, for which she may be prosecuted in a court of the United States, to
wit: Carjacking, in violation of 18 U.S.C. § 2119, as alleged in Count 1 of this
Indictment, did knowingly use, carry, brandish, and possess in furtherance of the
Carjacking, a firearm, all in violation of 18 U.S.C. § 924(c)(1)(A)Q), (ii).
COUNT 4
On or about December 28, 2021, in the Eastern District of Washington, the
Defendant, SUNDRON LARSELL MILLER, knowing of his status as a person
previously convicted of a crime punishable by a term of imprisonment exceeding
one year, did knowingly possess in and affecting commerce a firearm, to wit: a
Savage Axis .308 rifle, bearing serial number J505953, which firearm had
theretofore been transported in interstate and foreign commerce, in violation of 18

U.S.C. §§ 922(g)(1), 924(a)(2).

SUPERSEDING INDICTMENT - 3
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on DN BF WwW NY KB OO WAN HD TH SP WW NH —& S&S

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COUNT 5
On or about December 28, 2021, within the exterior boundaries of the
Yakama Nation, in Indian Country, in the Eastern District of Washington, the
Defendant, SUNDRON LARSELL MILLER, an Indian, did intentionally assault
Jane Doe, an Indian, with intent to commit murder by striking her with a rifle and
pulling the trigger while the rifle was pointed at her, all in violation of 18 U.S.C.
§§ 1153, 113(a)(1).
COUNT 6
On or about December 28, 2021, within the exterior boundaries of the
Yakama Nation, in Indian Country, in the Eastern District of Washington, the
Defendant, PAULA EULOJIA CANTU-LOPEZ, a non-Indian, assaulted Jane
Doe, an Indian, and the assault resulted in serious bodily injury in violation of 18
USS.C. §§ 1152, 113(a)(6), 2.
NOTICE OF CRIMINAL FORFEITURE
The allegations contained in this Indictment are hereby realleged and
incorporated by reference for the purpose of alleging forfeitures.
Pursuant to 18 U.S.C. § 982(a)(5), upon conviction of an offense in violation
of 18 U.S.C. § 2119, as set forth in this Indictment, the Defendants, SUNDRON

LARSELL MILLER and PAULA EULOJIA CANTU-LOPEZ, shall forfeit to the

SUPERSEDING INDICTMENT — 4
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United States of America, any property, real or personal, which represents
proceeds obtained, directly or indirectly, as a result of such violation.
If any forfeitable property, as a result of any act or omission of the Defendants

a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;

has been placed beyond the jurisdiction of the court;

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has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided
without difficulty,

the United States of America shall be entitled to forfeiture of substitute property

pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1).
Pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c), upon conviction

of an offense in violation of 18 U.S.C. § 2119, and/or 18 U.S.C. §

924(c)(1)(A)(i), Gi), and/or 18 U.S.C. §§ 922(g)(1), 924(a)(2), as set forth in this

Indictment, the Defendants, SUNDRON LARSELL MILLER (Counts 1, 2 and 4)

and PAULA EULOJIA CANTU-LOPEZ (Counts 1 and 3), shall forfeit to the

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SUPERSEDING INDICTMENT -— 5
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United States of America, any firearms and ammunition involved or used in the
commission of the offense.

DATED this /0 day of January 2023.

Vine pletsey
Vanessa R. Waldref
United States aléret

pSfopoing

Michael D. Murphy V/
Assistant United States Attorney

SUPERSEDING INDICTMENT — 6
